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                      Exhibit 2
DECLARATION OF JITESH PARIKH CERTIFYING
THE FEDERAL HIGHWAY ADMINISTRATION’S
 ADMINISTRATIVE RECORD FOR THE I-495 &
      I-270 MANAGED LANES STUDY
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                   SOUTHERN DISTRICT


     MARYLAND CHAPTER OF THE SIERRA
     CLUB et al.,

                         Plaintiff,

                  v.                                       Civil Action No. DKC 22-2597

     FEDERAL HIGHWAY
     ADMNISTRATION, et al.

                         Defendant.


                    DECLARATION OF JITESH PARIKH
          CERTIFYING THE FEDERAL HIGHWAY ADMINISTRATION’S
       ADMINISTRATIVE RECORD FOR THE MANAGED LANES STUDY (MLS)
                             LITIGATION

I, JITESH PARIKH, pursuant to 28 U.S.C. § 1746, declare as follows:

1.      I am over the age of 18 years. I am competent to testify to the matters set forth herein,

and I have personal knowledge of the matters expressed herein.

2.      I am a resident of Maryland, and my business address is 31 Hopkins Plaza, Suite 1520

Baltimore, Maryland 21201.

3.      I am currently Senior Advisor with the Federal Highway Administration (FHWA)

Maryland Division and have served in this capacity since January 2023.

4.      I started with the FHWA in March 1997. In January 2015, I become the Environment

and Project Delivery Team leader (EPDTL) for the Maryland Division. I held this position until

February 2021 and was assigned on a temporary basis as P3/MLS Director. I held the P3/MLS

Director position until January 2023 when I started in my current position.
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5.        As Senior Advisor, and in my former P3/MLS Director and EPDTL positions, my

responsibilities include assisting the Maryland Department of Transportation, State Highway

Administration (MDOT-SHA) in the development of transportation projects in compliance with

the National Environmental Policy Act (NEPA), Council of Environmental Quality Guidelines,

and FHWA Directives, relating to social, economic, and environmental effects of proposed

projects.

6.        As Senior Advisor, and in my former P3/MLS Director and EPDTL positions, I am

familiar with the Managed Lanes Study (MLS) Project, which is the subject of the above-

referenced lawsuit.

7.        As Senior Advisor, and in my former P3/MLS Director and EPDTL positions, my

responsibilities included oversight responsibility associated with the Environmental Impact

Statement (EIS) for the Project. In this Project, MDOT-SHA utilized multiple consultants to

develop technical documents which serve as the basis for the EIS. I oversaw the development of

those technical documents and studies as part of the NEPA process.

8.        In my capacity as Senior Advisor, and in my former P3/MLS Director and EPDTL

positions, I oversaw the coordination and compilation of the FHWA administrative record for the

Project. I personally searched the FHWA Maryland Division Office files to locate, evaluate, and

identify documents upon which the FHWA decision-maker directly or indirectly relied on in

evaluating the MLS Project.

9.        The FHWA also requested that MDOT-SHA provide the documents upon which it relied

in its capacity as a joint lead agency for the project and which therefore directly or indirectly

informed FHWA’s decision. The FHWA is including these documents in the administrative

record.
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10.    The administrative record was compiled in cooperation with MDOT-SHA, under my

direction and supervision. To the best of my knowledge, the administrative record contains the

documents upon which the FHWA decision-maker relied on directly or indirectly in completing

the EIS and ROD in connection with the agencies’ action in this Project.

11.    To the best of my knowledge and based on my personal involvement in compiling the

administrative record, the index, attached hereto as Exhibit 1, and record documents lodged with

the Court and served on Counsel of Record in this matter constitute a true, correct, and complete

copy of the administrative record for the Project.

12.    To the best of my knowledge, each document contained in the administrative record is a

true and correct copy of the original document located in the files of the United States

Department of Transportation, FHWA, and MDOT-SHA.



Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct to the best of my knowledge.

Executed this 28 day of April, 2023
                                                            Digitally signed by JITESH H
                                                            PARIKH
                                       JITESH H PARIKH      Date: 2023.04.28 13:55:36
                                       ____________________________________
                                                            -04'00'
                                       Jitesh Parikh
